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A 0 245B (Rev 12/03) Sheet 1 - Judgment in a Criminal Case


                                 UNITED STA TES DISTRICT COURT
                                                         MIDDLE DISTRICT OF FLORIDA
                                                              TAMPA DIVISION



UNITED STATES OF AMERICA                                           AMENDED JUDGMENT IN A CRIMINAL CASE
                                                                   (For Offenses Committed On or After November 1, 1987)

                                                                   CASE NUMBER:          8:03-cr-255-T-30TBM
                                                                   USM NUMBER:           41235-018
VS.


ARMANDO SANTOS
                                                                   Defendant's Attorney: Thomas Ostrander, ret.

THE DEFENDANT:

X pleaded guilty to count(s) One of the Indictment.
-
- pleaded nolo contendere to count@)which was accepted by the court.
- was found guilty on count(s) after a plea of not guilty.
Accordingly, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                                                       DATE OFFENSE                  COUNT
TITLE & SECTION                           NATURE OF OFFENSE                            CONCLUDED                     NUMBER(S)
21 U.S.C. $846                            Conspiracy to Possess With Intent            February 13, 2003             One
                                          to Distribute Five Kilograms or
                                          More of Cocaine

        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984 and the Mandatory Victims Restitution Act of 1996.

- The defendant has been found not guilty on count(s)
- Count(s) (is)(are) dismissed on the motion of the United States.
IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully
paid.
If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in the defendant's
economic circumstances.



                                                                                       Date of Imposition of Sentence: August 26, 2004




                                                                                      w
                                                                                      j S. MOODY, JR
                                                                                       WED
                                                                                         STATES D I S T ~ C TJ ~ G E

                                                                                       DATE: October I ) ,2005
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A 0 245B (Rev 12/03) Sheet 2 -Imprisonment
Defendant:           ARMAND0 SANTOS                                             Judgment - Page 2 of 6
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                                                              IMPRISONMENT

               The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of FORTY-ONE (41) MONTHS as to Count One of the Indictment. This sentence shall be
served concurrently with the term of imprisonment imposed in the defendant's case with the State of Florida.




- The court makes the following recommendations to the Bureau of Prisons:




-
X The defendant is remanded to the custody of the United States Marshal.
- The defendant shall surrender to the United States Marshal for this district.

          - at - a.m.1p.m. on       -.
          - as notified by the United States Marshal.

    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.

           - before 2 p.m. on -.
           - as notified by the United States Marshal.
           - as notified by the Probation or Pretrial Services Office.




                                                                     RETURN

           I have executed this judgment as follows:




           Defendant delivered on                 to                                                                  at
                                                                          , with a certified copy of this judgment.


                                                                         United States Marshal

                                                                         By:
                                                                         Deputy Marshal
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A 0 245B (Rev. 12/03) Sheet 3 - Supervised Release

Defendant:           ARMAND0 SANTOS                                               Judgment - Page 3of 6
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                                                           SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term of THREE (3) YEARS as to
Count One of the Indictment.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.
The defendant shall not illegally possess a controlled substance.

For offenses committed on or afrer September 13, 1994:

        The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test
within 15 days of release from imprisonment and at least two periodic drug tests thereafter.

--         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
           substance abuse.

-          The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

           If this judgment imposes a fine o r a restitution obligation, it shall be a condition of supervised release that the defendant
           pay any such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance
           with the Schedule of Payments set forth in the Criminal Monetary Penalties sheet of this judgment.

           The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant
           shall also comply with the additional conditions on the attached page.


                                              STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation officer;

           the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
           month;

           the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

           the defendant shall support his or her dependents and meet other family responsibilities;

           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;

           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

           the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
           substance or any paraphernalia related to any controlled substances, exccpt as prescribed by a physician;

           the defendant shall not frequent places wherc controlled substances are illegally sold, used, distributed, or administered;

           the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;

           the defendant shall permit a probation officer to visit hini or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;

           the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

           the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court;

           as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
           or personal history or characteristicsand shall permit the probation officer to make such notifications and to confirm the defendant's compliance
           with such notification requirement.
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A 0 245B (Rev 12/03) Sheet 3a - Supervised Release

Defendant:            ARMAND0 SANTOS                                        Judgment - Page 4 of 6
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                                                      SUPERVISED RELEASE

           The defendant shall also comply with the following additional conditions of supervised release:


X          The defendant shall participate, as directed by the Probation Officer, in a program (outpatient andlor inpatient) for treatment
           of narcotic addiction or drug or alcohol dependency. This program may include testing for the detection of substance use or
           abuse. Further, the defendant shall be required to contribute to the costs of services for such treatment not to exceed an
           amount determined reasonable by the Probation Officer's Sliding Scale for Substance Abuse Treatment Services.

X
-          The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control Act. The defendant shall refrain
           from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days of placement
           on probation and at least two periodic drug tests thereafter as directed by the probation officer.
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A 0 245B (Rev 12/03) Sheet 5, Part A - Criminal Monetary Penalties

Defendant:           ARMAND0 SANTOS                                             Judgment - Page 5 of 6
Case No.:            8:03-cr-255-T-30TBM

                                                 CRIMINAL MONETARY PENALTIES

         The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments
set forth on Sheet 5 , Part B.
                                Assessment                             Fine                     Total Restitution

           Totals:              $100.00                                Waived                   N/ A


-          The determination of restitution is deferred until -.                An Amended Judgment in a Criminal Case ( A 0 245C) will
           be entered after such determination.
-          The defendant shall make restitution (including community restitution) to the following payees in the amount listed
           below.
           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
           specified otherwise in the priority order of ercentage payment column below. However, pursuant to 18 U.S.C. 5
                                                                 'f
           3664(i), all nonfederal victims must be pai in full prior to the United States receiving payment.
                                                                                                                 Priority Order or
                                                        *Total                     Amount of                     Percentage of
Name of Pavee                                         Amount of Loss            Restitution Ordered              Pavment




                                Totals:               -
                                                      $                         L-

-          If applicable, restitution amount ordered pursuant to plea agreement $
-          The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full
           before the fifteenth day after the date of the judgment, pursuant to 18 U. S .C. 5 3612(f). All of the payment options on Sheet
           5, Part B may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

-          The court determined that the defendant does not have the ability to pay interest, and is ordered that;
           -          the interest requirement is waived for the - fine and/or                restitution.
           -          the interest requirement for the - fine andlor            - restitution is modified as follows:



* Findings for the total amount of losses are re uired under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code,
for offenses committed on or after September 13, 1994. but before April 23, 1996.
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A 0 245B (Rev 12/03) Sheet 5 Part B -Criminal Monetary Penalties

Defendant:           ARMAND0 SANTOS                                       Judgment - Page 6of 6
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                                                         SCHEDULE OF PAYMENTS


Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A.         X         Lump sum payment of $ 100.00 is due immediately, balance due
                                 -not later than                   , Or

                                 -in accordance with - C , - D, or - E below; or
B.         -          Payment to begin immediately (may be combined with -C , -D, or -E below); or
C.         -         Payment in                   (e.g., equal, weekly, monthly, quarterly) installments of $           over a
                     period of         (e.g . , months or years), to commence             days (e.g., 30 or 60 days) after date
                     of this judgment; or
D.         -          Payment in              (e.g., equal, weekly, monthly, quarterly) installments of $        over a
                      period o f , (e.g., months or years) to colnrnence - after release from imprisonment to a term of
                      supervision; or
E.         -          Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise in the s ecial instruction above, if this judgment imposes a period of
                                                              2       P
imprisonment, payment of criminal monetary enalties s la11 be due during the period of imprisonment. All criminal
monetary penalties, except those pa ments ma e through the Federal Bureau of Prisons' Inmate Financial Responsibility
                                               i:
Program, are made to the clerk o f t e court, unless otherwise directed by the court, the probation officer, or the United
States Attorney.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-          Joint and Several
           Defendant Name, Case Number, and Joint and Several Amount:


-          The defendant shall pay the cost of prosecution.
-          The defendant shall pay the following court cost(s):
X          The defendant shall forfeit the defendant's interest in the following property to the United States:
           The Court orders that the defendant forfeit to the United States immediately and voluntarily any and all assets and
           property, or portions thereof, subject to forfeiture, which are in the ossession or control of the defendant or the
           defendant's nominees. The Court incorporates and attaches the pre&minary forfeiture order dated 2/6/04 to this
           Judgment and Commitment Order.



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
( 5 ) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
